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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK


 PHILADELPHIA INDEMNITY INSURANCE                          CIVIL ACTION NO.:
 COMPANY,
                                                           COMPLAINT
                  Plaintiff,

         v.                                                JURY DEMAND
                                                           ENDORSED HEREON
 ROSALYN YALOW CHARTER SCHOOL,

                  Defendant.


        Plaintiff Philadelphia Indemnity Insurance Company by and through its undersigned

counsel, CLARK & FOX, hereby demands judgment against Defendant, and complains against it

as follows:

                                              PARTIES

        1.       Plaintiff Philadelphia Indemnity Insurance Company (“PIIC”) is a corporation

organized and existing under the laws of the Commonwealth of Pennsylvania with a principal

place of business located at 231 St. Asaph's Road, Suite 100, Bala Cynwyd, PA 19004-0950.

        2.       At all times relevant hereto, PIIC provided liability insurance to Walker Memorial

Baptist Church, Inc. (“Walker Memorial” or “Subrogor”) in connection with its property located

at 116 East 169th Street, Bronx, New York 12550 (“subject property”), under a policy of insurance

that was in full force and effect at all relevant times.

        3.       At all such relevant times, Defendant Rosalyn Yalow Charter School (“Rosalyn

Yalow”) was a for-profit educational institution organized and existing under the laws of the State

of New York with its principal place of business located at 650 Grand Concourse, Bronx, New

York 12550.
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        4.       In the wake of the incident described below, as a result of a claim made on said

policy (which was duly paid), PIIC became subrogated to certain recovery rights and interests of

Walker Memorial, including the claims giving rise to the within cause of action.

                                  JURISDICTION AND VENUE

        5.       Jurisdiction is based on 28 U.S.C. §1332(a)(1) as this action involves a controversy

between citizens of different states.        Moreover, the amount in controversy exceeds the

jurisdictional threshold of this Court (exclusive of interest and costs).

        6.       Venue is proper in this district based on 28 U.S.C. §1391(a) in that the events giving

rise to this claim occurred within this district.

                                     STATEMENT OF FACTS

        7.       At all relevant times prior to May 8, 2017, Walker Memorial owned the subject

property.

        8.       At all relevant times prior to May 8, 2017, Rosalyn Yalow leased the subject

property pursuant to a written lease agreement (“Lease”) with Walker Memorial. A copy of the

Lease is attached hereto as Exhibit “A.”

        9.       Pursuant to the Lease, Rosalyn Yalow agreed, except to the extent of Walker’s

Memorial’s negligence or willful misconduct, to indemnify and hold harmless Walker Memorial

“from and against all liabilities, obligations, claims, . . . causes of action, costs and expenses . . .

imposed upon or incurred by or asserted against [Walker Memorial] . . . by reason of occurrence

or existence of . . . any accident, injury to or death of persons (including workers) . . . occurring,

or claimed to have occurred, on or about the [subject property][.]” See Exhibit A, Lease, ¶ 14.

        10.      Pursuant to the Lease, Rosalyn Yalow also agreed to name Walker Memorial as an

additional insured on its liability insurance policy and that such coverage would be primary to
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Walker Memorial’s liability insurance coverage. See Exhibit A, Lease, ¶ 13.

           11.   On May 8, 2017, Mr. Curtis Nash, an employee of Rosalyn Yalow, was legally and

lawfully on the subject property in a room in the subject property that was wet due to a leaking

ceiling.

           12.   Rosalyn Yalow was notified about the dangerous condition of the floor.

           13.   At all relevant times, Rosalyn Yalow employed its own custodial staff at the subject

property that was authorized and able to redress the dangerous condition of the floor.

           14.   Despite notice of the issue and sufficient time to redress it, Rosalyn Yalow failed

to redress the dangerous condition of the floor identified by Mr. Nash.

           15.   On May 8, 2017, Mr. Nash returned to the room, slipped and fell on the floor

because of its dangerous condition, causing serious injuries.

           16.   On September 25, 2017, Mr. Nash filed a Complaint against, among others, Walker

Memorial, seeking recovery for his injuries: Curtis Nash v. Walker Memorial Baptist Church, Inc.

and Rosalyn Yalow Charter School, Supreme Court of the State of New York, County of Bronx,

Index No. 28989/2017E.

           17.   Pursuant to the Lease agreement, Walker Memorial was covered as an additional

insured under Rosalyn Yalow’s policy with its liability carriers, Travelers and Munich Re. PIIC’s

liability coverage to Walker Memorial was excess of the coverage from Travelers.

           18.   Mr. Nash settled his claims against Walker Memorial at a November 23, 2021

Mediation for $1,750,000.00. Of such settlement, Travelers paid the extent of its policy limits,

$1,000,000.00 and PIIC paid $750,000.00.

           19.   By virtue of the $750,000.00 payment made to Mr. Nash on its insured’s behalf,

PIIC became subrogated to the rights of Walker Memorial to the extent of such payment.
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          20.     Prior to the Mediation, Walker Memorial had asserted a third-party complaint

against Rosalyn Yalow bringing claims for, among others, contractual indemnity pursuant to the

terms of the Lease described above.

          21.     At the time of the Mediation, Rosalyn Yalow, via its attorneys and insurers, knew

of Walker Memorial’s contractual indemnification claim filed against it and knew that payment

by PIIC on Walker Memorial’s behalf to settle Mr. Nash’s claims would give PIIC subrogation

rights to such claim.

          22.     Nonetheless, shortly after the Mediation, and even though there was no discussion

during the Mediation of resolving Walker Memorial’s third-party contractual indemnification

claim against Rosalyn Yalow, counsel for Rosalyn Yalow and its excess liability carrier emailed

defense counsel for Walker Memorial asking him to confirm the settlement resolved all third-party

claims.

          23.     Counsel for Rosalyn Yalow and its excess liability carrier did not include separate

counsel for PIIC who attended the Mediation on such email, nor any representative of PIIC, despite

PIIC’s subrogation interest in Walker Memorial’s third-party claim.

          24.     Walker Memorial’s defense counsel, without consulting PIIC and without prior

authorization from PIIC, responded that he “will make sure that the paperwork encompasses all

claims.”

          25.     The Supreme Court of the State of New York, County of Bronx ruled that such

email response from Walker Memorial’s defense counsel constituted an enforceable settlement

agreement dismissing Walker Memorial’s third-party contractual indemnity claim against Rosalyn

Yalow. 1



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    On July 8, 2022, Walker Memorial has filed a Notice of Appeal with respect to the decision.
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        26.      The Supreme Court of the State of New York, County of Bronx, however, did not

rule on whether the settlement agreement extinguished PIIC’s subrogation interest in the claim (or

its separate subrogation claim) for contractual indemnity.

        27.      Even if Walker Memorial released Rosalyn Yalow after the Mediation, such release

would not preclude PIIC’s subrogation claim here, as Rosalyn Yalow was aware of the subrogation

claim at the time. Silinsky v. State-Wide Ins. Co., 30 A.D.2d 1, 3–4, 289 N.Y.S.2d 541, 545 (1968)

(“The authorities are in agreement that a release given to a tortfeasor who has knowledge of the

insurer’s [subrogation] rights will not preclude the insurer from enforcing its right of subrogation

against the wrongdoer.”); Grp. Health, Inc. v. Mid-Hudson Cablevision, Inc., 58 A.D.3d 1029,

1030, 871 N.Y.S.2d 780, 781–82 (2009) (“if the tortfeasor’s settlement occurred after it had

learned of the subrogation right, but without the insurance company’s consent, the settlement will

not destroy the insurance company’s right to proceed in a subrogation action against the

tortfeasor.”).

                          COUNT I – CONTRACTUAL INDEMNITY

        28.      Pursuant to the Lease, Rosalyn Yalow agreed to indemnify and hold harmless

Walker Memorial “from and against all liabilities, obligations, claims, . . . causes of action, costs

and expenses . . . imposed upon or incurred by or asserted against [Walker Memorial] . . . by reason

of occurrence or existence of . . . any accident, injury to or death of persons (including workers) .

. . occurring, or claimed to have occurred, on or about the [subject property][.]” See Exhibit A,

Lease, ¶ 14.

        29.      The action filed by Mr. Nash was a claim asserted against Walker Memorial

involving an accident and injury to a person that occurred on the subject property.

        30.      Therefore, Rosalyn Yalow was and is required to indemnify Walker Memorial for
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such claim.

       31.     Despite being duly notified of its indemnification obligation, Rosalyn Yalow did

not indemnify Walker Memorial for the claim asserted by Mr. Nash and in no way contributed to

the settlement of Mr. Nash’s claims against Walker Memorial.

       32.     Rosalyn Yalow’s past and present failure to indemnify Walker Memorial breached

the Lease.

       33.     As a result of Rosalyn Yalow’s breach of the Lease, PIIC was forced to pay Mr.

Nash $750,000.00 in resolution of his claims against Walker Memorial, and was then subrogated

to Walker Memorial’s claim.

       34.     Plaintiff and Plaintiff’s insured has/had/have performed all conditions precedent to

recover based upon such breach(es).

       WHEREFORE, Plaintiff respectfully requests judgment against Defendant in the amount

of $750,000.00, plus costs incident to this suit, delay damages, attorney fees, and for such other

relief as this Honorable Court shall deem appropriate under the circumstances.

Dated: New York, New York
       August 25, 2022

                                                     CLARK & FOX

                                                     _______________________
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